         Case 1:25-cv-00381-ABJ       Document 27-2       Filed 02/21/25      Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

NATIONAL TREASURY
EMPLOYEES UNION, et al.
          Plaintiffs,

                v.                                           Civil Action No. 25-cv-381-ABJ

RUSSELL VOUGHT, in his official capacity
as Acting Director of the Consumer
Financial Protection Bureau, et al.
               Defendants.

             [PROPOSED] ORDER GRANTING UNOPPOSED MOTION OF
          TZEDEK DC FOR LEAVE TO FILE AMICUS BRIEF IN SUPPORT OF
             PLAINTIFFS’ MOTION FOR A PRELIMINARY INJUNCTION

         WHEREAS Tzedek DC has filed an Unopposed Motion for Leave to File Amicus Brief

in Support of Plaintiffs’ Motion for a Preliminary Injunction (the “Motion”); and

         WHEREAS, upon consideration of the motion, it is:

         HEREBY ORDERED that Tzedek DC’s Motion is GRANTED and the amicus brief

attached as Exhibit 1 to Tzedek DC’s Motion is deemed filed and will be considered by the

Court.



                                                    __________________________________
                                                    Judge Amy Berman Jackson



Copies to all counsel of record via CM/ECF
